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Case: 1:21-cv-03930 Document #: 9-1 Filed: 07/23/21 Page 1 of 4 PagelD #:441

N° 1779055

 

CERTIFICATE OF REGISTRATION

This is to certify that the records of the Patent and Trademark Office show that an
application was filed in said Office for registration of the Mark shown herein, a copy of said

Mark and pertinent data from the Application being annexed hereto and made a part hereof,

And there having been due compliance with the requirements of the law and with the

regulations prescribed by the Commissioner of Patents and Trademarks,

Upon examination, it appeared that the applicant was entitled to have said Mark
registered under the Trademark Act of 1946, as amended, and the said Mark has been duly
registered this day in the Patent and Trademark Office on the

PRINCIPAL REGISTER
to the registrant named herein.

This registration shall remain in force for TEN years unless sooner terminated as
provided by law.

In Testimony Whereof I have hereunto set
my hand and caused the seal of the Patent
and Trademark Office to be affixed this
twenty-ninth day of June 1993.

WYckeol KR Bink,

Acting Commissioner of Patents and Trademarks

 

PTO-130

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Int. Cl.:,28--~

Prior U.S. Cls.: 22 and 50 ©

Reg. No. 1,779,055
United States Patent and Trademark Office Registered June 29, 1993

TRADEMARK
PRINCIPAL REGISTER

TANGLE
TANGLE INC. (CALIFORNIA CORPORATION) FIRST USE 8-0-1982; IN COMMERCE
P.O. BOX 77524 8-0-1982.
SAN FRANCISCO, CA 94107 OWNER OF U.S. REG. NO. 1,268,002.

SER. NO. 74-329,652, FILED 11-9-1992.
FOR: ACTION TOY IN THE NATURE OF A

KINETIC SCULPTURE, IN CLASS 28 (U.S. CLS. CHRISTOPHER KELLY, EXAMINING ATTOR-
22 AND 50). NEY
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Int. Ch: 28
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TRADEMARK
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